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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division
  __________________________________________
                                             )
  KATHERINE R. DAUPHIN,                      )
                                             )
        Plaintiff,                           )
                                             )
  v.                                         )      Civil Action No. 1:15-cv-149
                                             )      LO/TCB
  LOUIS A. JENNINGS, JR.,                    )
        and                                  )
  BEVERLY L. HENNAGER,                       )
                                             )
        Defendants.                          )
  __________________________________________)

                      NOTICE OF ATTORNEYS’ CHARGING LIEN

  To:     Hon. Paul F. Sheridan, Special Master
          c/o The McCammon Group
          6641 West Broad Street, Suite 400
          Richmond, Virginia 23230

          Katherine R. Dauphin
          Plaintiff
          c/o Stephen G. Cochran, Esq.
          Caitlin Lhommedieu, Esq.
          ROEDER & COCHRAN, PLLC
          8280 Greensboro Drive, Suite 601
          McLean, VA 22102
          Counsel for Plaintiff

          Louis A. Jennings, Jr.
          Defendant
          8502 Willow Wish Court
          Orlando, Florida 32835
          Phone: 407-532-6350
          Email: renaejennings@cfl.rr.com
          Defendant Pro Se
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              Michael Jennings
              Third Party
              c/o Timothy Hyland, Esq.
              HYLAND LAW, PLLC
              1818 Library Street
              Suite 500
              Reston, VA 20190
              Counsel for Third Party Michael Jennings

              Beverly Hennager
              Defendant pro se
              315 Wood Lane
              Corvallis, MT 59828


         YOU ARE HEREBY NOTIFIED that pursuant to the provisions of Virginia Code § 54.1-

  3932, TROUTMAN SANDERS LLP claims an Attorneys’ Charging Lien upon all of the

  monies, properties, choses in action, claims and demands in suit, and upon any monies or

  property which may be awarded to Defendant BEVERLY L. HENNAGER, in this matter, and

  upon any money or other property due to BEVERLY L. HENNAGER in the hands of the Special

  Master.. The claim of this charging lien is imposed against, but not necessarily limited to, the

  following property located in Virginia:

         BEVERLY L. HENNAGER’s share of the net proceeds of sale of three parcels of
         realty reported by the Special Master in his December 22, 2016 Status Report to
         the Court, said proceeds being in the amount of $10,186,665.89; and

         BEVERLY L. HENNAGER’s share of the net proceeds of the Assignment of the
         leasehold interest of Kay Jennings Family Limited Partnership to DAMN, LLC,
         reported by the Special Master in his June 14, 2017 Motion to Approve Payment
         of Expenses and Disburse Funds from Closing of Assignment Agreement to the
         Court, said proceeds being in the amount of $2,400,000.00.

         As grounds therefore, the undersigned states as follows:

         1.        TROUTMAN SANDERS LLP was retained by BEVERLY L. HENNAGER, on

  January 12, 2017 to represent her in the above-captioned suit.




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         2.      The terms and conditions on which TROUTMAN SANDERS LLP agreed to

  represent BEVERLY L. HENNAGER are set forth in a certain Engagement Agreement between

  the parties dated January 12, 2017, a copy of which is filed herewith, under seal, as Exhibit A.

         3.      BEVERLY L. HENNAGER accrued legal bills related to these services totaling

  $81,409.51, with no payments having been paid to TROUTMAN SANDERS LLP, apart from

  her initial $5,000.00 retainer, resulting in a total amount owed of $76,409.51. Monthly invoices

  with detailed time entries and specification of costs were emailed to BEVERLY L. HENNAGER

  by undersigned counsel during the representation and, after counsel made certain reductions

  requested by her, emailed again after the representation ended.

         4.      On May 3, 2017, the Court granted the Motion to Withdraw as counsel for

  BEVERLY L. HENNAGER filed by TROUTMAN SANDERS LLP, said withdrawal being

  requested by her.

         5.      Fees and costs incurred by the TROUTMAN SANDERS LLP in this matter since

  January 12, 2017, remain outstanding. A Statement of Fees incurred since January 12, 2017 is

  filed herewith, under seal, as Exhibit B.      As of the date of this filing, August 1, 2017,

  BEVERLY L. HENNAGER is indebted to TROUTMAN SANDERS LLP in the amount of

  $76,409.51 for fees and costs pursuant to the Engagement Agreement.

         WHEREFORE, by this Notice, TROUTMAN SANDERS LLP hereby claims an

  Attorney’s Charging Lien in the amount of $76,409.51.

                                                        /s/ Stephen C. Piepgrass
                                                   Stephen C. Piepgrass (VSB No. 71361)
                                                   TROUTMAN SANDERS LLP
                                                   1001 Haxall Point
                                                   Richmond, Virginia 23219
                                                   Phone: (804) 697-1320
                                                   Fax: (804) 698-5147
                                                   Email: stephen.piepgrass@troutmansanders.com



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                                   CERTIFICATE OF SERVICE

           I hereby certify that on the 1st day of August, 2017, I filed a true and correct copy of the
  foregoing on the Court’s Electronic Case Filing System, which will send a notice of electronic
  filing to:

                                 Stephen G. Cochran
                                 Caitlin K. Lhommedieu
                                 ROEDER & COCHRAN PLLC
                                 8280 Greensboro Drive, Suite 601
                                 McLean, VA 22102
                                 Phone: 703-749-6034
                                 Fax: 703-749-6027
                                 Email: scochran@rchlaw.net
                                         cklhommedieu@gmail.com
                                 Counsel for Plaintiff Katherine R. Dauphin

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                                 Counsel for Third Party Michael Jennings

                                 and

                                 Louis A. Jennings, Jr.
                                 8502 Willow Wish Court
                                 Orlando, FL 32835
                                 Phone: 407-532-6350
                                 Email: renaejennings@cfl.rr.com
                                 Defendant Pro Se

                                 Beverly L. Hennager
                                 315 Wood Lane
                                 Corvallis, MT 59828
                                 Defendant Pro Se

          I further certify that a copy of the foregoing was sent to: (i) Beverly Hennager at
  b@nefferdun.myrf.net; (ii) Renae Jennings at renaejennings@cfl.rr.com and Louis Jennings at
  laj@cfl.rr.com; and (iii) the Special Master, the Honorable Paul Sheridan, via electronic mail to
  the case managers, Ann Revercomb at ARevercomb@mccammongroup.com and Hunter Blair, at
  HBlair@mccammongroup.com.



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                                          /s/ Stephen C. Piepgrass
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